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         ORDERED in the Southern District of Florida on January 24, 2014.




                                                   Erik P. Kimball, Judge
                                                   United States Bankruptcy Court
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